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                     UNITED STATES DISTRICT COURT
                         DISTRICT OF COLUMBIA

Yanping Chen,

                           Plaintiff,
                                        No. 18-cv-3074
                v.
                                        Hon. Christopher R. Cooper
Federal Bureau of Investigation,
                                        United States District Judge
U.S. Department of Justice, U.S.
Department of Defense, and U.S.
Department of Homeland
Security,

                        Defendants.



                   REPLY IN FURTHER SUPPORT OF
                 GOVERNMENT’S MOTION TO DISMISS
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I.     Introduction

       The government seeks dismissal of this case on issue preclusion grounds because

the Eastern District of Virginia and the Fourth Circuit already determined two Privacy

Act merits issues that Chen’s latest claim would require revisiting. Chen’s opposition

shows that the parties agree on several points. It is undisputed that Chen asserted a

Privacy Act violation in the prior case. It is undisputed that that alleged Privacy Act

violation was based on the same allegedly leaked information and the same Fox News

reports as her claim here. It is undisputed that the parties in the prior case actually

litigated the two Privacy Act merits issues. And it is undisputed that giving preclusive

effect to those prior determinations would be fatal to her claim here.

       Chen nevertheless contends that it is underhanded for the government to invoke

issue preclusion after previously arguing both that the search warrant proceeding was

not the proper forum for an original Privacy Act claim and alternatively that the alleged

Privacy Act violation failed on the merits. But arguments in the alternative are

commonplace and unremarkable. Chen vigorously litigated all of the alternative grounds

at three levels of the federal judicial system, and all of those issues were resolved against

her. Because she had a full and fair opportunity in the prior case, declining to second-

guess the determinations made there is hardly unfair.

       Chen also contends that the prior case did not actually decide the two merits

issues. But any fair reading of the district court’s opinion shows that it did decide those

issues. Indeed, those two issues were the first two grounds given for denying relief for

the alleged Privacy Act violation. And the Fourth Circuit affirmed for identical reasons.

       Alternatively, Chen contends that even if the prior case did decide those two

merits issues, issue preclusion nevertheless does not apply because those courts also

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determined as a third ground of decision that they lacked jurisdiction. But the third

ground of decision is better read as concluding that the show-cause hearing for

sanctions that Chen sought was not an available remedy under the Privacy Act. In any

event, even if the third ground of decision were jurisdictional, the first two merits

grounds would still be entitled to preclusive effect as an instance in which the prior

courts “legitimately determined incidentally an issue [they] lack[ed] jurisdiction to

determine directly.” Carr v. District of Columbia, 646 F.2d 599, 607 (D.C. Cir. 1980). 1

       Finally, Chen has failed to make the compelling showing of basic unfairness

necessary to avoid the preclusion bar here. The case should therefore be dismissed.

II.    Argument

       A.     The Eastern District of Virginia and the Fourth Circuit
              determined both merits issues of Chen’s Privacy Act claim

       The government’s opening brief explained that the Eastern District of Virginia

and the Fourth Circuit determined two issues that would have to be revisited in this

case: (1) the information underlying the Fox News reports was not “contained in a

system of records”; and (2) in any event, disclosing evidence collected in a search does

not violate the Privacy Act.

       Remarkably, Chen’s recitation of the procedural history of the prior case does not

even mention that the case involved those two Privacy Act merits issues. Opp’n at 2–7,

ECF No. 10. Chen does not dispute that she asserted a Privacy Act violation in the prior

case. Nor does she appear to dispute that the two merits issues were actually litigated in




1For the Court’s convenience, citations to legal authorities and docket entries in the PDF
version of this brief are linked to the cited authority in Westlaw and ECF, respectively.

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the prior case — before the magistrate judge, the district court, and the Fourth Circuit. 2

She contends, however, that the district court and the Fourth Circuit did not make any

determinations on those issues, instead characterizing the treatment of those issues as

mere “dicta,” “mus[ings],” “state[ments],” and “remarks.” Opp’n at 14–16.

       Yet any plausible reading of the district court’s opinion shows that the district

court squarely determined both merits issues. The district court began by laying out the

elements of a Privacy Act claim on the merits. App’x at 84a, ECF No. 9-2 (Matter of

Search of 2122 21st Rd., No. 17-cr-236, 2018 WL 534161, at *4 (E.D. Va. Jan. 23, 2018)).

The district court then concluded that Chen’s attempt to meet that Privacy Act standard

“fails in multiple respects.” App’x at 84a–85a (2018 WL 534161, at *4). The district

court’s first two grounds for that conclusion were the merits issues: (1) Chen failed to

show that the information underlying the Fox News reports came from a system of

records; and (2) in any event, the disclosure of evidence collected during a search does

not violate the Privacy Act. App’x at 85a–86a (2018 WL 534161, at *4). The Fourth

Circuit then affirmed “for the reasons stated by the district court.” 3 App’x at 170a

(Matter of Search of 2122 21st Rd., 735 F. App’x 66 (4th Cir. 2018) (per curiam)).




2 Chen suggests that, on appeal, she litigated only the district court’s third Privacy Act
determination. Opp’n at 13 n.2. But Chen’s appeal also challenged the district court’s
first two Privacy Act merits determinations. See App’x at 115a–117a (Corrected Opening
Br. at 24–26, ECF No. 12, United States v. Matter of Search of 2122 21st Rd., N.
Arlington, Va., No. 18-6132 (4th Cir. Mar. 28, 2018)).
3Contrary to Chen’s contention (Opp’n at 13 n.2), the Fourth Circuit did not summarily
affirm. The Fourth Circuit issued an unpublished opinion explicitly adopting the district
court’s reasons — which include the two Privacy Act merits determinations. App’x at
170a (735 F. App’x 66). Issue preclusion applies to unpublished court of appeals
opinions. Nat’l Classification Comm. v. United States, 765 F.2d 164, 170 (D.C. Cir.
1985).

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       On the first merits issue, Chen contends that the district court determined only

that she had failed to show that the information came from a system of records — not

that the information did not actually come from a system of records. Opp’n at 15. But

the fact that the district court decided the system of records issue in the particular

procedural posture in which it arose — something courts routinely do — does not allow

Chen to avoid preclusion here. The question is whether adjudicating this case in Chen’s

favor would be “consistent[]” with the determination in the prior case. See Brightheart

v. McKay, 420 F.2d 242, 245 (D.C. Cir. 1969). If Chen failed to make a sufficient

showing on the system of records issue to justify a hearing (as the district court and

Fourth Circuit held), a fortiori she cannot meet the considerably higher standard of

proving it by a preponderance of the evidence as required to prevail in this case. The

necessary inconsistency with the prior determination is thus fatal to Chen’s claim here.

       Chen also contends that, with discovery here, she might be able to present more

evidence on the system of records issue than she did in the prior case. Opp’n at 15.

Notably, Chen does not contend that she in fact has any more evidence on that issue

now than she did in the prior case (where she also sought discovery, see App’x at 49a).

Instead, she acknowledges (Opp’n at 15, 18) that she would need discovery to search for

any such evidence. In any event, “[p]reclusion cannot be avoided simply by offering

evidence in the second proceeding that could have been admitted, but was not, in the

first.” Yamaha Corp. of Am. v. United States, 961 F.2d 245, 254–255 (D.C. Cir. 1992).

       On the second merits issue about whether disclosing evidence collected in a

search violates the Privacy Act, Chen contends that the district court and the Fourth

Circuit decided that issue incorrectly. Opp’n at 16 n.4. But “issue preclusion prevent[s]

relitigation of wrong decisions just as much as right ones.” B & B Hardware, Inc. v.

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Hargis Indus., Inc., 135 S. Ct. 1293, 1308 (2015) (brackets in original; citation omitted);

see also Willner v. Dimon, No. 15-cv-1840, 2018 WL 3067902, at *7 (D.D.C. Jan. 4,

2018) (Cooper, J.) (preclusion applied even though “[i]f this Court had power to

consider the question anew, it might well agree with the [plaintiffs]”). If a party could

sidestep the preclusion bar by arguing that the prior decision was wrong, the doctrine

would never achieve its principal goals of preventing repeat litigation and conserving

judicial resources. See Gulf Power Co. v. FCC, 669 F.3d 320, 324 (D.C. Cir. 2012).

       Finally, Chen contends that the second merits determination in the prior case

does not bar her entire claim here — which is based not only on photos collected in the

search, but also on other documents not collected in the search, like immigration forms,

naturalization papers, and an excerpt of an FBI form. Opp’n at 17. First, and most

importantly, even if any part of Chen’s latest claim were not barred by the second merits

determination in the prior case, it is undisputed that the entire claim is barred by the

first merits determination. In making that first determination, the Eastern District of

Virginia and the Fourth Circuit concluded that Chen had failed to show that an agency

system of records was the source of any of the documents underlying the Fox News

story — including all of the documents cited in her complaint here, which Chen

presented in the prior case. See App’x at 22a (Second Addendum at 2, ECF No. 21,

Matter of Search of 2122 21st Rd., No. 12-sw-1002 (E.D. Va. May 22, 2017)) (alleging

Privacy Act violation based on alleged disclosure of FBI form and immigration papers);

see also Aff. of Movant at 2 & Attachment 2, ECF No. 21-1, Matter of Search of 2122 21st

Rd., No. 12-sw-1002 (E.D. Va. May 22, 2017) (attaching screenshots of those

documents).



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       In any event, Chen’s entire claim here is also barred by the second merits

determination made in the prior case. There, the government argued that Congress did

not intend for the Privacy Act to cover the kind of documents identified by Chen. See

App’x at 27a–31a (Response at 3–7, ECF No. 22, Matter of Search of 2122 21st Rd., No.

12-sw-1002 (E.D. Va. June 5, 2017)). The Eastern District of Virginia and the Fourth

Circuit agreed on that point and denied Chen’s requested relief in its entirety — thus

implicitly rejecting any argument that some of the documents identified by Chen could

give rise to a Privacy Act violation. 4 See Sec. Indus. Ass’n v. Bd. of Governors of Fed.

Reserve Sys., 900 F.2d 360, 365 (D.C. Cir. 1990) (fact that prior court “was not explicit

in holding [on precise question] is … irrelevant to its preclusive effect — by [its final

disposition], the [prior] court necessarily decided that question”).

       Finally, Chen contends that the second merits determination was not that

disclosing evidence collected in a search could never give rise to a Privacy Act violation.

Opp’n at 15–16. Even if that were a fair reading of the district court’s opinion, it would

not matter here. By denying Chen’s requested relief in its entirety, the district court

ruled at the very least that the alleged disclosure of the particular documents identified

by Chen did not violate the Privacy Act. Giving preclusive effect to that narrower ruling

is still fatal to Chen’s claim in this case, which is based on those same documents.




4 The fact that Chen did not make this same argument in the prior case is “irrelevant …
since preclusion because of a prior adjudication results from the resolution of a question
in issue, not from the litigation of specific arguments directed to the issue.” See Sec.
Indus. Ass’n, 900 F.2d at 364.

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       In sum, the Eastern District of Virginia and the Fourth Circuit made two Privacy

Act merits determinations that her latest Privacy Act claim would require this Court to

revisit — an invitation this Court should decline.

       B.     The third ground of the Eastern District of Virginia’s and Fourth
              Circuit’s decision does not defeat preclusion here

       Chen next contends that even if the Eastern District of Virginia and the Fourth

Circuit made those two merits determinations, issue preclusion still does not apply

because those courts also determined as a third ground of decision that they lacked

jurisdiction. Opp’n at 9–14. Chen’s argument provides no basis for avoiding preclusion.

              1.     The third ground is best read as being not about
                     jurisdiction, but about remedies

       At the outset, there is good reason to believe that the prior courts’ third ground of

decision was not jurisdictional. Neither the district court nor the Fourth Circuit stated

that it lacked subject-matter jurisdiction. 5 Chen quotes the district court as finding that

there was “‘no jurisdiction to pursue the Privacy Act’s implications’” in the prior case.

Opp’n at 9. But that quoted language is not the district court’s conclusion; it is the

district court’s characterization of what the magistrate judge found: “Magistrate Judge

Anderson found he had no jurisdiction to pursue the Privacy Act’s implications because

a show cause hearing is not an enumerated remedy of the Act.” App’x at 84a (2018 WL

534161, at *4) (emphasis added). The magistrate judge’s findings are not what matters

for issue preclusion purposes; only the grounds expressly determined by the district




5The Privacy Act vests jurisdiction in “the district courts of the United States,” 5 U.S.C.
§ 552a(g)(1) — which includes the U.S. District Court for the Eastern District of Virginia.

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court (and the Fourth Circuit) are relevant. 6 See Synanon Church v. United States, 820

F.2d 421, 424–425 (D.C. Cir. 1987).

       Instead, the district court’s third ground for decision is better read as a

determination that a show-cause hearing for sanctions is not an available remedy under

the Privacy Act. The district court’s reasoning was focused on remedies: “A hearing

before the magistrate judge who authorized the warrant would not be an appropriate

forum in which to make an original Privacy Act claim,” and if Chen wanted to assert an

original Privacy Act claim, she “would better pursue the avenues for civil relief provided

by the Privacy Act.” App’x at 86a (2018 WL 534161, at *5) (emphasis added). In other

words: The Privacy Act does not entitle a party to the kind of show-cause hearing sought

by Chen — only civil relief, which would have to be sought in an original civil action. The

district court’s bottom-line conclusion was likewise about remedies, not jurisdiction:

Chen “has failed to show that the Privacy Act entitles her to the relief sought before

Judge Anderson.” 7 App’x at 86a (2018 WL 534161, at *5) (emphasis added).

       The upshot is that a finding that a particular remedy is not available under a

statute is not a finding that the court lacks subject-matter jurisdiction to adjudicate the




6 The magistrate judge did not decide either of the two merits issues that the district
court and the Fourth Circuit later decided, though both issues had been litigated by the
parties. App’x at 43a–45a, 46a–47a. At that point, if Chen had abandoned the prior case
and filed this case, issue preclusion would not have barred this case. Instead, however,
Chen appealed to the district court and squarely but unsuccessfully litigated both merits
issues, and then appealed to the Fourth Circuit and again squarely but unsuccessfully
litigated both merits issues.
7Chen herself acknowledges this reading, stating that the district court determined that
“the Act does not entitle a person injured by a leak of search warrant materials to a
hearing before the magistrate who issued the warrant compelling the Government to
show cause whether it violated the Act.” Opp’n at 12.

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case. See, e.g., Doe v. Chao, 540 U.S. 614, 624–625 (2004) (holding that plaintiff with

no actual damages was not eligible for minimum statutory damages award under

Privacy Act; “an individual subjected to an adverse effect [from a Privacy Act violation]

has injury enough to open the courthouse door, but without more has no cause of action

for damages under the Privacy Act”). And issue preclusion applies when the prior case

was resolved on multiple alternative nonjurisdictional grounds, as Chen acknowledges.

Opp’n at 13 n.2; accord Yamaha, 961 F.2d at 255. Issue preclusion thus applies to each

of the three grounds determined by the Eastern District of Virginia and the Fourth

Circuit — the first two of which bar this case.

              2.     Even if the third ground were jurisdictional, issue
                     preclusion would still bar this case

       In any event, preclusion would still apply even if the third ground of decision by

the Eastern District of Virginia and the Fourth Circuit were jurisdictional. Chen

contends that, given the third (purportedly jurisdictional) ground of decision in the

prior case, the first two merits grounds were not “determined by a court of competent

jurisdiction” as required for preclusion. Opp’n at 9–10. But even when a prior court

lacked jurisdiction, preclusion still applies when that court “legitimately determined

incidentally an issue it lack[ed] jurisdiction to determine directly.” Carr, 646 F.2d at

607. Here, Chen asserted a Privacy Act violation in the prior case and contended that it

was a freestanding ground meriting a show-cause hearing. Even if the Eastern District of

Virginia and the Fourth Circuit would have lacked jurisdiction over an original Privacy

Act claim — which Chen disclaimed asserting, see App’x at 114a — those courts still

legitimately determined the two merits issues incidentally, to decide whether Chen was




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entitled to her requested show-cause hearing. Those determinations are thus entitled to

preclusive effect.

       Chen also contends that, since the third determination was sufficient by itself to

support the prior judgment, the two merits determinations were not “essential to the

judgment” as required for issue preclusion. Opp’n at 11–12. Even if Carr did not apply,

that logic, if adopted, would mean that issue preclusion could never apply when the

prior judgment was based on multiple alternative grounds. That logic would also yield

the perverse outcome that “a case which is doubly inadequate can be refiled whereas a

case inadequate in only one respect cannot.” Dozier v. Ford Motor Co., 702 F.2d 1189,

1194 (D.C. Cir. 1983) (Scalia, J.). Most importantly, that logic has been rejected by the

D.C. Circuit in favor of a different rule: “[A] judgment based alternatively upon two

determinations, either of which alone would be sufficient to sustain it, is an effective

adjudication as to both grounds, and is collaterally conclusive as to both.” Yamaha, 961

F.2d at 255 (citation omitted) 8; see also Dozier, 702 F.2d at 1194 n.10 (noting “the

general rule of binding effect for alternative holdings”); Kaempfer v. Brown, 872 F.2d

496, 1989 WL 45103, at *2 (D.C. Cir. 1989) (unpublished) (rejecting argument that lack

of personal jurisdiction in prior case deprived merits determination of preclusive effect

in subsequent case); W. Coal Traffic League v. ICC, 735 F.2d 1408, 1410–1411 (D.C. Cir.

1984) (R.B. Ginsburg, J.) (holding that prior merits determinations were preclusive,

even though prior decision also rested on ripeness ground (see 691 F.2d 1104, 1116)).




8 Chen contends that Yamaha is not good law. Opp’n at 12–13. But the only support she
cites is a comment from the Restatement (Second) of Judgments published in 1980,
over a decade before Yamaha.

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       In support of her argument that an alternative jurisdictional determination saps

the preclusive effect of a merits determination, Chen cites Stebbins v. Keystone

Insurance Co., 481 F.2d 501 (D.C. Cir. 1973). But as the D.C. Circuit has explained, that

interpretation overreads the case. See Dozier, 702 F.2d at 1194 n.10. Stebbins represents

a narrow exception to issue preclusion when: (a) “one of the alternative grounds [for the

prior decision] involves a curable defect that is later cured,” id. (emphasis deleted); and

(b) instead of appealing the prior decision, the losing party “acquiesce[s] in the

judgment and take[s] whatever steps are necessary to keep alive or rekindle his prayer

for relief,” Stebbins, 481 F.2d at 508. In those circumstances, declining to give

preclusive effect is justified because “the ease of remedying the curable defect makes it

more likely that the refusal to take an appeal in the first case was not an

acknowledgment of the validity of both grounds.” Dozier, 702 F.2d at 1194 n.10. Here,

by contrast, Chen did appeal the Eastern District of Virginia’s decision and squarely

challenged all three Privacy Act determinations in the Fourth Circuit, and the Fourth

Circuit ruled against her on all three grounds. Stebbins thus does not deprive those

determinations of preclusive effect here. See id. at 1193–1194 (when prior decision was

based on “alternative holding[s]” and losing party “pursue[d] an appeal which was

explicitly rejected on both grounds,” “the dismissal on each ground is [preclusive] in a

subsequent suit”) (emphasis deleted).

       Chen also cites out-of-circuit cases and secondary sources that purportedly

adhere to a different rule of preclusion. Opp’n at 10–12. Even if those authorities were

not at odds with D.C. Circuit law, their rule is based on two concerns, neither of which is

present in this case. First, according to those authorities, “a determination in the

alternative may not have been as carefully or rigorously considered as it would have if it

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had been necessary to the result.” Restatement (Second) of Judgments § 27 cmt. i

(1980). Here, however, the merits determinations were the first two grounds that the

Eastern District of Virginia gave for its decision — not tack-on reasons mentioned only

in passing.

       Second, “the losing party, although entitled to appeal from both determinations,

might be dissuaded from doing so because of the likelihood that at least one of them

would be upheld and the other not even reached.” Id. But here, despite having lost on

three alternative Privacy Act grounds in the Eastern District of Virginia, Chen appealed

all three grounds to the Fourth Circuit, and the Fourth Circuit affirmed on all three

grounds. In this situation, where the losing party takes an appeal and loses, the

Restatement says that preclusion applies to all of the alternative grounds for affirmance:

              If the judgment of the court of first instance was based on a
              determination of two issues, either of which standing independently
              would be sufficient to support the result, and the appellate court
              upholds both of these determinations as sufficient, and accordingly
              affirms the judgment, the judgment is conclusive as to both
              determinations. In contrast to the case discussed in Comment i, the
              losing party has here obtained an appellate decision on the issue,
              and thus the balance weighs in favor of preclusion.

Id. § 27 cmt. o; see also Gelb v. Royal Globe Ins. Co., 798 F.2d 38, 45 n.6 (2d Cir. 1986)

(noting that, although the Restatement’s general view is that “the disincentive to seeking

appellate review [of alternative findings] is sufficient to prevent preclusion,” if appeal is

actually taken, “an alternative finding that is in fact reviewed and affirmed is preclusive

under the Restatement”).

       The third ground of the Eastern District of Virginia’s and Fourth Circuit’s

decision thus does not deprive the first two merits grounds of preclusive effect here.




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       C.     Preclusion would cause no basic unfairness to Chen

       Finally, Chen contends that applying preclusion would be fundamentally unfair

for three reasons. Opp’n 17–20. First, she contends that she did not get discovery in the

prior case. Opp’n at 17–18. But the reason Chen did not get discovery there (though she

sought it, see App’x at 49a) was because the district court determined that she failed to

make a sufficient showing to justify it. App’x at 85a (2018 WL 534161, at *4). A similar

situation occurs every time a case is dismissed under Rule 12: the plaintiff’s allegations

were insufficient to warrant discovery. If that were enough to avoid preclusion, the

“narrow[]” “‘basic unfairness’ exception” would swallow the rule. See Willner, 2018 WL

3067902, at *6.

       In any event, the scope of discovery does not drive the preclusion analysis.

Preclusion can apply even when the scope of discovery in the prior proceeding was more

limited than in the current case. See B & B Hardware, 135 S. Ct. at 1309 (issue

preclusion applied to administrative agency determinations even though “[t]he scope of

discovery in Board proceedings … is generally narrower than in court proceedings”)

(citation omitted; alteration and ellipsis in original). Instead of focusing on the scope of

discovery, “the correct inquiry is whether the procedures used in the first proceeding

were fundamentally poor, cursory, or unfair.” Id. Chen provides no basis for this Court

to reach the remarkable conclusion that the procedures used at three levels of federal

courts in the prior case fell below that bare minimum standard.

       Second, Chen contends that she lacked an incentive to litigate the Privacy Act

merits issues in the prior case because she did not seek damages there. Opp’n at 18–19.

But issue preclusion applies even to prior proceedings in which no damages were

available, as long as “there is good reason to think that both sides [took] the matter

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seriously.” B & B Hardware, 135 S. Ct. at 1309–1310. Here, the docket in the prior case

belies any suggestion that Chen did not zealously litigate the Privacy Act merits issues.

Chen was the party who injected those issues into the prior case by asserting a Privacy

Act violation. She ardently litigated those issues at three different levels of the federal

judicial system, filing multiple briefs at each level. App’x at 15a, 19a, 22a, 34a–35a, 55a–

56a, 75a–76a, 114a–117a. Precluding her from relitigating those issues yet again is far

from unfair. See Brightheart, 420 F.2d at 245 n.4 (“Here, estoppel is invoked as against

the person who initiated the action … as plaintiff. There is every reason to believe he

exerted his full energies to obtain recovery ….”).

       Third, Chen contends that the government’s conduct is unfair. Opp’n at 19–20.

Chen relies heavily on the government’s argument in the Fourth Circuit that she could

file a new civil Privacy Act case. Opp’n at 6, 19–20 (citing App’x at 150a–152a). But that

argument was in support of the government’s alternative contention that the Fourth

Circuit lacked appellate jurisdiction. See App’x at 136a–153a (Br. of the United States at

10–27, ECF No. 16, Matter of Search of 2122 21st Rd., No. 18-6132 (4th Cir. Apr. 17,

2018)). If the Fourth Circuit had dismissed for lack of appellate jurisdiction, as the

government urged, preclusion would not have barred a subsequent Privacy Act case,

since the Fourth Circuit would not have ruled on the two merits issues. See Synanon

Church, 820 F.2d at 424–425. But the Fourth Circuit did not agree with the government

on the appellate jurisdiction point and instead affirmed for the reasons given by the




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Eastern District of Virginia — including the two merits grounds that Chen now asks this

Court to revisit. 9

       More fundamentally, the government in the prior case merely did what parties do

every day: it argued that multiple alternative grounds supported its requested

disposition of the case. Chen had a full and fair opportunity to litigate each of those

grounds, and the Eastern District of Virginia and the Fourth Circuit resolved them

against her. There is little doubt that, if Chen had prevailed on any of those merits

issues in the prior case, she would have sought to use issue preclusion offensively in this

case to bar the government from relitigating them. It would be unfair to the government

if Chen could employ this kind of “heads I win, tails play again” tactic.

       Chen has therefore failed to make the compelling showing of unfairness required

to avoid preclusion. This Court should decline to second-guess the determinations of the

Eastern District of Virginia and the Fourth Circuit.




9 Notably, courts have held that issue preclusion applies even when the prior court — as
opposed to the other party — suggested that the decision would not be preclusive in a
later case. See Magnus Elecs., Inc. v. La Republica Argentina, 830 F.2d 1396, 1402–
1403 (7th Cir. 1987).

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III.   Conclusion

       The motion should be granted.

 Dated: May 8, 2019                     Respectfully submitted,

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